Case 3:14-cv-02749-N      Document 131       Filed 07/12/16     Page 1 of 4    PageID 3160



                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

CHILLY DIL CONSULTING, INC.,                 §
                                             §
       Plaintiff,                            §
                                             §
v.                                           §           Civil Action No. 3:14-CV-2749-N
                                             §
JETPAY ISO SERVICES, LLC, et al.,            §
                                             §
       Defendants.                           §

                                         ORDER

       This Order addresses Plaintiff Chilly Dil Consulting, Inc.’s (“Chilly Dil”) motion for

leave to amend its first amended complaint and extend scheduling order deadlines [100] and

motion to stay [130] and third parties Backpage, LLC, Payment Solutions, B.V., Adtech,

B.V., Ad Reputations Solutions, B.V., and Carl Ferrer’s (collectively, “Third Parties”)

motion to intervene and seal documents [102]. The Court denies the motions and under the

authority of 28 U.S.C § 636(b) refers the pending motion to compel [117] to United States

Magistrate Judge Toliver for determination and/or findings, conclusions, and

recommendations.

       When the deadline for seeking leave to amend pleadings and add new parties to an

action has expired, a litigant must show good cause for an amendment under Federal Rule

of Civil Procedure 16(b)(4) (“A schedule may be modified only for good cause and with the

judge’s consent.”). Courts consider the following factors when deciding whether to allow

an amendment: “(1) the explanation for the failure to timely move for leave to amend; (2) the

importance of the amendment; (3) potential prejudice in allowing the amendment; and (4)

ORDER – PAGE 1
Case 3:14-cv-02749-N       Document 131        Filed 07/12/16      Page 2 of 4     PageID 3161


the availability of a continuance to cure such prejudice.” Fahim v. Marriott Hotel Servs.,

Inc., 551 F.3d 344, 348 (5th Cir. 2008).

       In the present action, the deadline to add new parties was June 15, 2015, and the

deadline to amend pleadings was July 15, 2015. See Scheduling Order 1 [22].1 Chilly Dil

claims there is good cause to amend the scheduling order, add Third Parties, and amend its

complaint because Third Parties recently produced documents that Defendants JetPay ISO

Services, LLC, JetPay, LLC, and JetPay Corporation (collectively, “JetPay Defendants”)

refused to produce until after Third Parties produced them. See Pl.’s Mem. in Supp. 7 [100-

1]. Moreover, Chilly Dil claims JetPay Defendants previously lied to Chilly Dil about the

existence of the documents, which show JetPay, LLC processed American Express

transactions for Third Parties from June 2014 until September 2015. See id. Chilly Dil

argues it could not have added Third Parties or brought its new claims before now because

it did not have these documents. See id. at 12–13.

       JetPay Defendants responded by showing that they produced documents in October

2015 indicating that JetPay Defendants processed American Express transactions for

Backpage.com in early 2014. According to JetPay Defendants, these documents provided

sufficient notice of the transactions to allow Chilly Dil to bring the claims and add the parties

that Chilly Dil now seeks to add to its Second Amended Complaint. See Defs.’ Resp. 7–11

[106-1]. Chilly Dil’s only reply to this argument was in a footnote: “JetPay Defendants’

limited production of AMEX statements for March 2014 to April 2014 related to transfers

into Esquire Bank do not explain JetPay Defendants’ explicit and unqualified denial

       1
     The Amended Scheduling Order [88] did not change these deadlines.
ORDER – PAGE 2
Case 3:14-cv-02749-N       Document 131       Filed 07/12/16      Page 3 of 4     PageID 3162


regarding the existence of additional documents showing any business activity between

JetPay Defendants and BackPage, which was flagrantly false.” Pl.’s Reply 5 n.6 [114].

Thus, Chilly Dil does not attempt to explain why it delayed bringing its new claims and

adding Third Parties.

       Chilly Dil received notice in October 2015 that the AMEX transactions were

occurring. Chilly Dil failed to offer any explanation for why it waited to move to amend its

complaint and add Third Parties and its new claims until May 2016. Allowing Chilly Dil to

amend its complaint and add new parties would prejudice JetPay Defendants because JetPay

Defendants are likely to incur significant costs reopening discovery in an action that is nearly

two years old. See James v. McCaw Cellular Commc’ns, Inc., 988 F.2d 583, 587 (5th Cir.

1993) (affirming denial of motion to add new defendant when the motion was filed “almost

fifteen months after [plaintiff] filed his original complaint, ten months after the joinder

deadline, five months after the deadline for amendments, [and] three weeks after [defendant]

filed its Motion for Summary Judgment”). A continuance would not cure this prejudice.

Chilly Dil fails to show that the importance of its amendment outweighs the prejudice to

JetPay Defendants caused by Chilly Dil’s delay. Thus, Chilly Dil has not shown good cause.

Accordingly, the Court denies Chilly Dil’s motion for leave to amend.2

       Signed July 12, 2016.



       2
        Because the Court denies Chilly Dil’s motion for leave to amend and add Third
Parties to this action, the Court denies Third Parties’ motion to intervene as moot and the
Court denies Chilly Dil’s motion to stay as moot. The documents the Court has provisionally
sealed shall remain sealed.

ORDER – PAGE 3
Case 3:14-cv-02749-N   Document 131   Filed 07/12/16   Page 4 of 4   PageID 3163




                                          _________________________________
                                                    David C. Godbey
                                               United States District Judge




ORDER – PAGE 4
